            Case 19-50848                Doc 11         Filed 11/06/19 Entered 11/06/19 10:26:40                                  Desc Ch 13
                                                            First Mtg Page 1 of 2
Information to identify the case:
Debtor 1                 Anthony J. Lastovich                                                    Social Security number or ITIN    xxx−xx−0805

                         First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court         District of Minnesota
                                                                                                 Date case filed for chapter 13 10/28/19
Case number:          19−50848 − RJK




Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Anthony J. Lastovich

2. All other names used in the
   last 8 years
                                              aka Tony Lastovich, asf Northland Demolition and
                                              Recycling, Inc., dba Tony's Construction

                                              7181 Ellen Lane
3. Address                                    Side Lake, MN 55781
                                              John F. Hedtke                                                Contact phone: 218−728−1993
4. Debtor's  attorney
   Name and address
                                              Hedtke Law Office
                                              1217 E 1st St
                                                                                                            Email: john@hedtkelaw.com

                                              Duluth, MN 55805−2402

5. Bankruptcy trustee                         Kyle Carlson                                                  Contact phone: 218−354−7356
     Name and address                         PO Box 519                                                    Email: info@carlsonch13mn.com
                                              Barnesville, MN 56514

6. Bankruptcy clerk's office                                                                                Hours open: Monday − Friday: 8:00am −
     Documents in this case may be filed                                                                    4:30pm
     at this address.                         404 U.S. Courthouse
                                                                                                            Contact phone (218) 529−3600
     You may inspect all records filed in     515 West First Street
     this case at this office or online at    Duluth, MN 55802                                              Web address www.mnb.uscourts.gov
      www.pacer.gov.
                                                                                                            Date: 11/6/19
                                                                                                                  For more information, see page 2



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           Case 19-50848                  Doc 11       Filed 11/06/19 Entered 11/06/19 10:26:40                                      Desc Ch 13
                                                           First Mtg Page 2 of 2
Debtor Anthony J. Lastovich                                                                                                              Case number 19−50848

7. Meeting of creditors
    Debtors must attend the meeting to     December 17, 2019 at 09:15 AM                                     Location:
    be questioned under oath. In a joint                                                                     U S Courthouse, Courtroom 2, 515 W 1st St,
    case, both spouses must attend.                                                                          Duluth, MN 55802
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 2/18/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 1/6/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 4/27/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. Proofs of claim can be filed electronically
                                           on the court's website: www.mnb.uscourts.gov. No login or password is required. Alternatively, a Proof of
                                           Claim form may be obtained at the same website or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           1/13/20 at 09:00 AM, Location: U S Courthouse, Courtroom 2, 515 W 1st St, Duluth, MN 55802 Deadline to
                                           object to confirmation of the Chapter 13 Plan: 1/6/20.
10. Creditors with a foreign                If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                 extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.
11. Filing a chapter 13                     Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                         according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                            plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                            the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                            debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                            court orders otherwise.
12. Exempt property                         The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                            exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                            the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                      Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                            However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                            are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                            as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                            523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                            If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                            must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                            exemptions in line 8.




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